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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA, VETO Lue j
U.S. DISTRICT COURT
Plaintiff, Case: 4:21-cr-20749 FLINT. MICHIGAN
Vv. Judge: Kumar, Shalina D.
MJ: Ivy, Curtis
ADRIAN ALE CHAVARRIA,
Defendant.

 

SUPERSEDING INDICTMENT

 

THE GRAND JURY CHARGES:
COUNT ONE
18 U.S.C. § 922(¢)(1) and 18 U.S.C. § 924(e)d1)
Felon in Possession of a Firearm

On or about March 23, 2020, in the Eastern District of Michigan, ADRIAN
ALE CHAVARRIA, knowing that he had been convicted of a crime or crimes
punishable by a term of imprisonment exceeding one year, knowingly possessed,
in and affecting commerce, a firearm, that is: a Smith & Wesson, model 669, 9mm
Luger caliber, semiautomatic pistol, in violation of 18 U.S.C. § 922(g)( 1.

Defendant, ADRIAN ALE CHAVARRIA, having at least three previous
convictions for a violent felony or a serious drug offense, committed on occasions

different from one another, is subject to penalties provided under Title 18, United

States Code, Section 924(e)(1).

 
 

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FORFEITURE ALLEGATION
18 U.S.C. §924(d); 28 U.S.C. §2461

The allegations contained in Count One of this Indictment are hereby re-
alleged and incorporated by reference for the purpose of alleging forfeiture pursuant
to 18 U.S.C. §924(d)(1) and 28 U.S.C. §2461. Upon conviction of the offense
charged in Count One of this Indictment, ADRIAN ALE CHAVARRIA shall forfeit
to the United States, any firearm and ammunition involved in or used in any knowing
violation of 18 U.S.C. § 922 including but not limited to a Smith & Wesson, model
669, 9mm Luger caliber, semiautomatic pistol, serial number TAJ2412, one high-
capacity magazine and 25 rounds of 9 millimeter ammunition.

THIS IS A TRUE BILL.

s/FOREPERSON
Dated: November 16, 2022

DAWN N. ISON
United States Attorney

 

s/NANCY A. ABRAHAM
Assistant United States Attorney
2™4 Floor Federal Building

600 Church Street

Flint, MI 48502

(810) 766-5177

s/ANTHONY P. VANCE
Assistant United States Attorney
Chief, Branch Offices

 
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United States District Court Criminal Case Cover Sheet | Case Number:
Eastern District of Michigan 21-cr-20749
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.
Companion Case Information Companion Case Number:
This may be a companion case based on LCrR 57.10(b)(4)":
OYes MINo AUSA’s Initials: NAA
Case Title: USA v. ADRIN ALE CHAVARRIA
County where offense occurred: Genesee
Offense Type: Felony
|
Superseding Case Information
Superseding to Case No: 21-cr-20749 Judge: Kumar
Reason: Add a charge
Defendant Name Charges Prior Complaint (if applicable

18 U.S.C.§924(e)(1)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case

 

 

November 16, 2022 NVetesg tibet.
Date Nanéy A. Abraham

Assistant United States Attorney
600 Church Street

Flint, Ml 48502
nancy.abraham@usdoj.gov
(810) 766-5177

1 Campanion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are

present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.

 

 
